      6:19-cv-00269-JFH-SPS Document 88 Filed in ED/OK on 05/21/21 Page 1 of 8




                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF OKLAHOMA.

LAMONE MORLEE JOHNSON,

                        Plaintiff,

vs.                                             Case No. CIV-19-269-JFH-SPS

DR. SANDERS, et al.,

                        Defendants.


                        DEFENDANTS’ RESPONSE TO PLAINTIFF’S
                           MOTION TO COMPEL DISCOVERY.


         COME NOW Defendants Sanders, Larimer, Martinez, Morrison, and Taylor by and

through their attorney, Darrell L. Moore, OBA #6332, submitting their response in opposition to

Plaintiff’s Motion to Compel Discovery. In his Motion to Compel [Doc. 68], Plaintiff asserts

Defendants’ discovery responses were evasive and inadequate and he seeks an Order from the

Court directing that amended responses be provided.

         Contrary to Plaintiff’s assertions, Defendants timely and appropriately responded to the

Plaintiff’s discovery requests. Answers provided to Plaintiff’s requests were direct and on-point.

And Plaintiff was provided thirty-two (32) pages of responsive materials including disciplinary

records, incident reports, and photos.

         In the Motion to Compel, Plaintiff does not provide specific objections to the individual

discovery responses provided by Defendants. Instead, Plaintiff simply asserts several “blanket”

objections. Plaintiff may not have liked the responses provided, but that does not mean the

responses were inadequate and inconsistent with expected discovery responsibilities. Plaintiff




                                                  1
   6:19-cv-00269-JFH-SPS Document 88 Filed in ED/OK on 05/21/21 Page 2 of 8




has requested the Court direct Defendants to answer Requests No. 4, 5, 7, 9, 13 and 14 more

appropriately. Defendants address each of those Interrogatories individually herein.

     A REVIEW OF DEFENDANTS’ DISCOVERY RESPONSES DEMONSTRATES
                 PLAINTIFF’S MOTION SHOULD BE DENIED.

       Defendants’ response to Plaintiff’s Request No. 4 was appropriate.

       REQUEST NO. 4: Please identify inmates schedules in the kitchen for months of
       June, July 2019 (include inmates names and ID Photos).

       DEFENDANTS’ RESPONSE TO REQUEST NO. 4: Objection, relevance.
       Facility records indicate you worked in food service 5/24/2018 - 7/05/2018 and
       10/04/18 - 10/09/18.

       Discussion: Plaintiff’s request asked for information about other inmates who worked in

the Kitchen at the prison facility during June and July 2019. Facility records indicate Plaintiff

was not assigned to work in the facility Kitchen during 2019. Plaintiff has provided no

information or allegation that would warrant him being provide such information about other

inmates. Defendants’ objection asserting relevance was appropriate. In support of the Motion to

Compel, Plaintiff has provided no additional information regarding relevance of such a request

that would override the safety, security, and privacy concerns regarding the requested

information about other inmates. Defendants’ response was appropriate.

       Defendants’ response to Plaintiff’s Request No. 5 was appropriate.

       REQUEST NO. 5: Please identify all staff members whom was present in the
       segregation review and the listed inmates whom attended the segregation review and the
       outcome of each inmate situation on the date of March 5, 2019.

       DEFENDANTS’ RESPONSE TO REQUEST NO. 5: Objection, relevance. Objection,
       safety, security, and privacy concerns restrict release of the requested information
       regarding other inmates. Without waiving these objections, Plaintiff attended a
       segregation review on or about March 5, 2019. Staff whom may have been present were
       Assistant Warden Gentry, Assistant Warden Perez, Chief of Security Brown, Unit
       Manager Berry, Unit Manager Martinez, and Clerk Polkinghorn.



                                                 2
   6:19-cv-00269-JFH-SPS Document 88 Filed in ED/OK on 05/21/21 Page 3 of 8




       Discussion: Besides asking for staff members in attendance, Plaintiff’s request asked for

specific information regarding other inmates attending their own segregation reviews and sought

information related to the resolution of each inmate’s review. Again, Plaintiff has provided no

basis for a request for information directly related to other inmates. Defendants’ objection was

proper given the direct safety and security concerns of providing such information to an inmate.

There is no basis provided by Plaintiff in the Motion to Compel for the release of such

information. Defendants did provide Plaintiff the information requested as regards staff members

likely present during the requested reviews. Defendants’ response was appropriate.

       Defendants’ response to Plaintiff’s Request No. 7 was appropriate.

       REQUEST NO. 7: Please identify all prison staff members (by name, rank and title at
       the relevant time and last known home and work address) who were on duty on Fox Delta
       between 6:45 pm to 5:45 am from March 6 to March 14, 2019.

       DEFENDANTS’ RESPONSE TO REQUEST NO. 7: Objection, relevance.
       Objection, safety and security of staff members. Plaintiff is an inmate in a correctional
       facility and will not be provided address information of staff members. Without waiving
       these objections, a review of shift rosters for the subject dates indicates the following
       Officers were assigned to the day shift on Fox Delta from March 6, 2019 to March 14,
       2019: David Dellinger, Jacob Reed, Dayne Chaplin, Zachary Powell, Vance Shaw.

       Discussion: Plaintiff’s request asked for personal information (i.e., addresses) related to

staff members. Specifically, their home and current work address if no longer employed at DCF.

Defendants’ objection was proper given the obvious safety and security concerns of providing

such information to inmates. Plaintiff provides no foundation in the Motion to Compel that

would counter the obvious safety and security concerns raised by Defendants vis-à-vis addresses

for employees. Defendants did provide Plaintiff the requested information regarding names of

staff members working on Fox Delta. However, upon further review, Defendants’ response to

Request No. 7 provided Plaintiff the names of Officers working the day shift on Fox Delta; with

Request No. 7, Plaintiff asked for the names of staff members working the night shift on Fox
                                                3
   6:19-cv-00269-JFH-SPS Document 88 Filed in ED/OK on 05/21/21 Page 4 of 8




Delta. That information for the requested dates is as follows – March 6 and 7, 2019, Officer

Stetson Wilkerson; March 8, 9, and 10, 2019, Officer Blake Odom; March 11, 2019, Officer

Deshawana Madden; March 12, 2019, Officer Justin Keith; and, for March 13 and 14, 2019,

Officer Blake Odom.

       Defendants’ response to Plaintiff’s Request No. 9 was otherwise appropriate.

       REQUEST NO. 9: Please identify and attach a copy of your whereabouts on March 6,
       2019 on Fox Delta Cell 210.

       DEFENDANTS’ RESPONSE TO REQUEST NO. 9: Objection, your request is vague
       and unclear insofar as you have asked Defendant Martinez for a copy of your
       whereabouts. Without waiving this objection, I, Unit Manager Martinez, was on the
       facility on March 6, 2019 as verified by my digital signature on the 5-1 incident report.
       My office was on the Fox Alpha Pod and I likely would have been on FD at some point
       during the day.

       Discussion: Plaintiff’s request asked for identification and a copy of whereabouts of the

housing Unit Manager (Unit Manager Martinez) for a certain date. Defendants affirmatively

responded that Unit Manager Martinez was at work at the facility on the specific date. Plaintiff

does not articulate in the Motion to Compel how that response was insufficient. Defendants’

response was appropriate.

       Defendants’ response to Plaintiff’s Request No. 13 was appropriate.

       REQUEST NO. 13: Please identify and attach copies of all 5-1cs filed by inmate
       Lamone Johnson, inmate Marquis Porter and their locations.

       DEFENDANTS’ INITIAL RESPONSE TO REQUEST NO. 13: Objection, safety
       and security. Plaintiff is an inmate in a correctional facility and should not be provided
       information submitted by other offenders. Objection, relevance. Objection, vague,
       unclear, and unduly burdensome. Plaintiff’s request for “all” 5-1c he may have submitted
       while he was confined at Davis Correctional Facility is not relevant to his claims brought
       forward to this Court. Without waiving these objections, no 5-1c Incident Statements
       completed by Plaintiff have been located. Requests to Staff submitted by Plaintiff dated
       March 22, 2019 and March 28, 2019 will be BATES numbered and produced to Plaintiff
       by separate correspondence.



                                                4
   6:19-cv-00269-JFH-SPS Document 88 Filed in ED/OK on 05/21/21 Page 5 of 8




       Discussion: Plaintiff’s request asked for copies of all 5-1C statements filed by Plaintiff

and/or Inmate Porter. No date or connection to an identifiable incident was provided by Plaintiff.

CCA/CoreCivic, Inc., owner-operator of the Davis Correctional Facility, has published a policy

titled “Incident Report”, Policy Number 5-1. A 5-1C Incident Statement is collected from all

employees involved in or witnessing an incident and an inmate may be requested to complete a

5-1C when the inmate has been involved in an incident or has witnessed an incident. Materials

collected as part of the 5-1 incident report process are stored by date of incident. Given the vague

nature of Plaintiff’s request, Defendants appropriately responded that the request, as presented by

Plaintiff, was not relevant to the present action. And, without more specific information,

Defendants were unable to locate any 5-1C statements submitted by the Plaintiff. In case

Plaintiff had mistakenly referred to a 5-1C statement when actually meaning to refer to a Request

to Staff form (a Request to Staff form is part of the administrative remedies policy process set

forth in the Oklahoma DOC policy OP-090124, see Document 31-7, Page 3 of 22, ¶1.B),

Defendants did provide Plaintiff copies of Request to Staff forms Plaintiff had submitted.

       Again, Plaintiff does not articulate in the Motion to Compel how Defendants’ response

was insufficient. Defendants response was appropriate.

       Defendants’ response to Plaintiff’s Request No. 14 was appropriate.

       REQUEST NO. 14: Please identify all officers responsible for formulating,
       implementing, and monitoring compliance with the policies, procedures and protocols
       and practices described in your response to Interrogatory #2 and Interrogatory #8.

       DEFENDANTS’ INITIAL RESPONSE TO REQUEST NO. 14: Objection, vague
       and unclear in that Plaintiff requests that we identify “all” responsible officers. Without
       waiving this objection, as the Unit Manager for the Fox housing unit during 2019, I was
       responsible for the operation of that inmate housing unit.




                                                 5
   6:19-cv-00269-JFH-SPS Document 88 Filed in ED/OK on 05/21/21 Page 6 of 8




       Discussion: Plaintiff asks the Court to Compel Defendants to answer Interrogatory No. 2

and Interrogatory No. 8 more appropriately. A review of Defendants’ responses to those

Interrogatories demonstrates those responses to have been quite appropriate.

       Plaintiff’s Request No. 2: Please describe in as much detail as possible every policy,
       procedure and practice that governs that care of LGBTQIP (Gay, Bi-sexual, Transgender,
       Queer, Intersex, Pansexual) Inmates and the disciplinary process.

       Defendants’ Response to Request No. 2: For the Fox housing unit at Davis Correctional
       Facility, Oklahoma DOC OP-040204 Segregation Measures is the policy that governs the
       care of inmates. It is applied to all inmates. Oklahoma DOC OP-060125 Disciplinary
       Procedures is the policy that outlines the disciplinary process. It is applied to all inmates.
       OP-060125 Attachment A sets out the acts constituting rule violations. Oklahoma DOC
       OP-030102 pertains to inmate housing. Oklahoma DOC OP-140147 pertains to
       determination and management of inmates with gender dysphoria. And Oklahoma DOC
       OP-030601 and 030601-APS pertain to the Oklahoma Prison Rape Elimination Act.

       Plaintiff’s Request No. 8: Please identify the procedure for “inmates who refused
       cellmates” and the procedure for “investigating or physical altercation between two
       inmates who horseplay.” And the steps the investigator takes to determine the incident as
       “horseplay” or “fight.”

       Defendants’ Response to Request No. 8: If an inmate refuses cell mates, he is issued a
       misconduct and his level is dropped. Furthermore, based on the circumstances of the
       refusal, the inmate may be placed in Segregation pending investigation into the refusal.
       During segregation reviews, a determination is made to return the inmate to general
       population or conduct a protective measures investigation. If an inmate shows signs of
       injury, an investigation is conducted to determine the source of the injury and to ensure
       the safety of the inmate. The investigation includes reviewing staff reports, photographs,
       and inmate medical evaluations and may include interviewing the victim, the suspect, and
       any witnesses. In my 23 years' experience as a Corrections professional, when inmates
       incur injuries as a result of horseplay, they readily admit it. When inmates maintain
       different stories and are evasive when questioned, it generally means that something
       occurred that they don't want staff to know about. In this incident, both inmates reported
       that inmate Johnson fell off the top bunk. However, both inmates had injuries that were
       inconsistent with falling off the top bunk and were consistent with fighting.

       As can be clearly seen by a review of the Responses provided to Plaintiff Johnson,

Defendants properly responded to Request No. 2 and Request No. 8. Plaintiff’s Motion to

Compel does not articulate what specific deficiencies the Plaintiff seeks to have corrected. With

Response to Request No. 2, Defendants properly identified, as requested, the list of applicable
                                                 6
   6:19-cv-00269-JFH-SPS Document 88 Filed in ED/OK on 05/21/21 Page 7 of 8




policies and provided a brief explanation of each policy as they pertain to inmate care, discipline,

and housing. With respect to Request No. 8, Defendants provided a detailed answer as to steps

taken when an inmate refuses a cellmate or when an inmate has obvious injuries.

       And, as noted by Unit Manager Martinez, as the housing unit manager for the Fox

Housing unit during 2019, he was responsible for the operation of the inmate housing unit.

Defendants’ responses to Requests 2, 8, and 14 were appropriate.

                               ARGUMENT AND AUTHORITY

       Plaintiff’s submitted discovery requests were adequately and validly responded to by the

Defendants. In the Motion to Compel Plaintiff provided no basis for the assertion that the

answers provided were insufficient or not proper. Defendants’ responses were timely provided

and appropriately informative.

       The situation at hand is similar to that considered by the Court in Troutt v. Correctional

Healthcare Management, Inc., 248 Fed. Appx. 910 (10th Cir. 2007). In that case, the Court of

Appeals considered whether the District Court (the United States District Court for the Western

District of Oklahoma) had abused its discretion when denying a Plaintiff’s Motion to Compel

discovery. The District Court had denied Plaintiff’s motion because, (1) he failed to “identif[y]

any particular discovery response of any Defendant that is allegedly insufficient”; (2) he stated,

“only in the most general and conclusory terms that Defendants' responses and objections have

thwarted his ability to obtain relevant evidence”; and (3) the “Defendants' discovery responses

d[id] not demonstrate on their face any violation of the Federal Rules of Civil Procedure.” The

Court of Appeals concluded that the District Court had not abused its discretion. See Id., at 915.

       Clearly, like in the Troutt matter, this Honorable Court should deny Plaintiff’s Motion to

Compel.

                                                 7
   6:19-cv-00269-JFH-SPS Document 88 Filed in ED/OK on 05/21/21 Page 8 of 8




                                         CONCLUSION

       WHEREFORE, premises considered, Defendants pray the Court deny Plaintiff’s Motion

and provide Defendants such other and further relief to which they may be entitled.



                                      Respectfully submitted,
                                      CoreCivic Defendants



                                      BY:
                                      Darrell L. Moore, OBA #6332.
                                      J. RALPH MOORE, PC
                                      P.O. Box 368
                                      Pryor, OK 74362
                                      Tele: (918) 825-0332/7730 (fax)
                                      darrellmoore@jralphmoorepc.com
                                      Attorney for CoreCivic Defendants


                                      Certificate of Service

 I hereby certify that on May 21, 2021, I electronically transmitted the
attached document to the Clerk of Court using the ECF System for filing. Based on the records
currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to the following
ECF registrants:


 I hereby certify that on May 21, 2021, I served the attached document by regular US Mail on
the following, who are not registered participants of the ECF System:


Lamone Johnson, DOC #744047
Oklahoma State Penitentiary
P.O. Box 97
McAlester, OK 74502-0097




                                              DARRELL L. MOORE



                                                 8
